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 1   David C. Wakefield, Esq. Bar #: 185736
 2   Lightning Law, APC
     10620 Treena Street, Suite 230
 3
     San Diego, CA 92131
 4   Telephone: 619.485.4300; Facsimile: 619.342.7755
     E-mail: dcw@DMWakeLaw.com; wakefieldlawassistant@gmail.com
 5
     Attorney for Plaintiffs
 6

 7                         UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA

 9
      UNITED AFRICAN-ASIAN                    Case No:
10    ABILITIES CLUB, ON BEHALF
11
      OF ITSELF AND ITS                       COMPLAINT
      MEMBERS; JAMES LEE, An
12    Individual                              DISCRIMINATORY
13                                            PRACTICES
                          Plaintiffs,         [US Fair Housing Act of 1988 [42
14
                                              U.S.C. §§ 3600 et seq, §3604(c),
15          v.                                §3604(f)(1-3), et seq.; CA
                                              Government Code 12925, 12927,
16
      MJ-AG PROPERTIES, LLC;                  12955; CA Civil Code §§ 51, 52,
17    AND DOES 1 THROUGH 10,                  54.3
18
      Inclusive
                                              DEMAND FOR JURY TRIAL
19                        Defendants.
20                                      INTRODUCTION
21
     1.    Plaintiffs make the following allegations in this civil rights action:
22                              JURISDICTION AND VENUE
23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
25
     apartment property consist of four (4) or more residential units), and 42 U.S.C. §
26
     12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
27
     United States District Court for the Central District of California pursuant to 28
28

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 1
     U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
 2
     Judicial District.
 3
                              SUPPLEMENTAL JURISDICTION
 4
     3.      This United States District Court for the Central District of California has
 5
     supplemental jurisdiction over the California state claims as alleged in this
 6
     Complaint pursuant to 28 U.S.C. § 1367(a).
 7
                   NAMED DEFENDANTS AND NAMED PLAINTIFFS
 8
     4.     The term Plaintiffs as used herein specifically include the corporate Plaintiff
 9
     entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
10
     Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
11
     Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
12
     Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
13
     to as the “named Plaintiffs” or “Plaintiffs”.
14
     5.     Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
15
     good standing as a Nevada corporation. The named individual Plaintiff LEE is a
16
     member of the Plaintiff Club organization.
17
     6.   Plaintiffs are informed, believe, and thereon allege that named Defendant MJ-
18
     AG PROPERTIES, LLC and is the operator of the apartment rental business known
19
     as Andrews Manor located at 701 S. St. Andrews Place Los Angeles, CA 90005.
20
     Plaintiffs are informed, believe, and thereon allege that Defendant MJ-AG
21
     PROPERTIES, LLC, is the owner, operator, and/or lessor of the real property
22

23
     located at 701 S. St. Andrews Place Los Angeles, CA 90005 (hereinafter referred to

24
     as the “Property”).

25
     7.     Defendant MJ-AG PROPERTIES, LLC, is, and at all times mentioned herein

26
     were, a business or corporation or franchise, organized and existing and/or doing

27
     business under the laws of the State of California. Defendants Does 1 through 10,

28

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 1
     were at all times relevant herein subsidiaries, employers, employees, and/or agents of
 2
     the named Defendants.
 3
                                  CONCISE SET OF FACTS
 4
     8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
 5
     for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
 6
     Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
 7
     dates wherein he intended to go the Defendant’s Property to access Defendants’
 8
     rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 9
     and communication barriers at Defendants’ Property. Plaintiff Lee determined that
10
     the open and obvious physical barriers that exist at Defendants’ Property directly
11
     related to his disabilities, and that it would be impossible or extremely difficult for
12
     him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
13
     Lee had knowledge of access barriers at the Property and determined that it would be
14
     futile gesture for him to go to the Property on the date that he had intended. The
15
     named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
16
     and communication barriers that exist at Defendants’ Property and also Defendants’
17
     website communication barriers. As used herein, website means any internet website
18

19
     where Defendants control the content. Exhibit B states the websites controlled by

20
     Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

21
     Defendants websites but experienced great difficulty due to Defendants’ failure to

22
     provide accessible website features.

23
     9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

24
     access Defendants’ online rental services, but had great difficulty due to his

25
     disabilities. The named Individual Plaintiff Lee also could not determine from

26   Defendants’ website content whether Defendants’ rental services at the property or
27   off the property, and common areas at the property were physically accessible to
28

                      3
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 1
     him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
 2
     obtain information regarding the physical accessibility of Defendants’ rental services
 3
     at the property and off-site. In response to the named Individual Plaintiff’s request,
 4
     Plaintiff Club sent one of its members to Defendants’ property. The named
 5
     Individual Plaintiff personally reviewed all the information and photographs of
 6
     Defendants’ property. As a result, the named Individual Plaintiff has actual
 7
     knowledge of the overt and obvious physical and communication barriers to
 8
     Defendants rental service at Defendants’ Property. The named Individual Plaintiff
 9
     determined that the open and obvious physical barriers that exist at Defendants’
10
     Property directly related to his disabilities, and that it would be impossible or
11
     extremely difficult for him to physically access Defendants’ on-site rental services.
12
     See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
13
     that it would be futile gesture for him to go to the Property on the date that he had
14
     intended. The named Individual Plaintiff was deterred by his actual knowledge of
15
     the physical and communication barriers that exist at Defendants’ Property and
16

17
     website. The named Individual Plaintiff made a written request to Defendants’ for

18
     an accommodation to have equal access to Defendants’ rental services and to

19
     eliminate the communication and physical barriers to Defendants’ rental services,

20
     both online and at the property. At the end of this action, the named Individual

21
     Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

22
     obtain rental information and verify that the communication and physical barriers to

23
     Defendants’ rental services are removed.

24
     10.   The named Plaintiff Club is an organization that advocates on the behalf of its

25
     members with disabilities when their civil rights and liberties have been violated.

26
     Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

27
     Property in October, 2023, and in November, 2023. The named Plaintiffs

28

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 1
     investigated Defendants apartment property and Defendants websites. Plaintiff Club
 2
     member Sharon Riguer investigated the Property on the Internet websites.
 3
     Additional Plaintiff Club members investigated Defendants websites and found that
 4
     they did not provide equal access. The results of the research from Club Member
 5
     Sharon Riguer are contained in the Exhibit B to this Complaint. Club members
 6
     ascertained that Defendants’ rental services at Defendants Property were not
 7
     physically accessible to Plaintiff Lee by a Club member with a disability who went
 8
     to Defendants’ apartment Property, and said Club member attempted to access
 9
     Defendants’ on-site rental services.
10
     11.   Plaintiff Club diverted its time and resources from its normal purposes
11
     because of Defendants’ service, policy, program and physical barriers to Defendants
12
     rental services at Defendants’ websites and Property. Club personnel conducted
13
     detailed Internet searches to determine if Defendants provide large print, deaf
14
     interpreter, therapy animal, the required reasonable accommodation policy, and
15
     required reasonable modification policy.    Further, the Club retained contractors to
16
     investigate said policies, to survey the property, to photograph the property, to
17
     investigate when the Property was constructed, to investigate the Property ownership
18
     and to have an access report prepared. Plaintiff Club also diverted staff to
19
     investigate Defendants' Internet presence to determine compliance with the FHA and
20
     ADA. Plaintiff Club also investigated Defendants' written rental materials such as
21
     brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
22

23
     investigation to ascertain Defendants' companion animal, deaf interpreter and

24
     reasonable accommodation and reasonable modification policies. Plaintiff Club also

25
     caused a physical access consultant to be retained to survey Defendants' facility.

26
     Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

27
     incorporated into an Access Report. The Access Report also details the known overt

28

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 1
     and obvious physical access violations at the Property, but it is not intended as an
 2
     exhaustive list of existing violations. Due to these necessary activities to investigate,
 3
     Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
 4
     Club suffered injury and also suffered monetary damages due to the diversion of the
 5
     Club’s resources from its normal purposes.
 6
     12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
 7
     different apartment websites where Defendants offer its rental services.
 8
     Additionally, Defendants provide rental services located at the Property.
 9
     13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
10
     physical site rental services because the websites refer to Defendants’ rental services
11
     that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
12
     Plaintiffs allege that the websites are also places of public accommodation.
13
     Defendants control the websites to the extent that Defendants can change the website
14
     content to make modifications to comply with the FHA and ADA. Therefore,
15
     Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
16
     improve access for Plaintiffs and people with disabilities.
17
     14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
18
     TTY number or the text messaging system for Plaintiffs and other people that are
19
     deaf or people with speech conditions. Plaintiff Club members have a speech
20
     disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
21
     websites to eliminate non-readable text to allow the blind and people with low vision
22

23
     to use the screen reader software to access the information on the website, yet they

24
     also failed to use large print on their websites. See Exhibit B to this Complaint.

25
     Plaintiffs assert that most popular screen reader programs are called Jobs Access

26
     With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

27
     discriminate against Plaintiff Club, specifically Club members who have low vision

28

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 1
     disabilities. Each of the Club members above cannot use the websites controlled by
 2
     the Defendants. Modifications to Defendants’ websites will not fundamentally alter
 3
     the rental services provided and will also not cause an undue burden to Defendants,
 4
     because the cost is less than One Thousand Dollars ($1,000).
 5
     15.   On October 30, 2023, and on a second subsequent date, Plaintiff Club
 6
     attempted to make a request to the Defendants for reasonable accommodation at the
 7
     property. On November 10, 2023, the named individual Plaintiff LEE and Plaintiff
 8
     Club emailed to the Defendants a written request for a reasonable accommodation.
 9
     In November, 2023, Plaintiff LEE and Plaintiff Club, mailed a written request for a
10
     reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
11
     for reasonable accommodation as of the date of the filing of this Civil Complaint.
12
     16.   Plaintiffs are not able to access Defendants rental services due to existing
13
     overt and obvious communication and physical barriers to access Defendants’ rental
14
     services both at its online website and at the property. Due to the overt and obvious
15
     physical barriers as alleged herein below, which are required to be removed,
16

17
     Plaintiffs requested that Defendants accommodate them to provide access to

18
     Defendants’ rental services.
     17.   The named Plaintiffs allege that an accommodation is also obvious when a
19
     whole group of the protected persons requires it. For example, when the public
20
     without disabilities are required to get up to a second level, the public would be very
21
     disturbed if they were required to request steps to go up to second level. When the
22

23
     accommodation is specific to a particular person with a disability, then that person

24
     may be required to make a request, because the accommodation is not obvious.

25
     18.   Plaintiffs allege that they are not required to make a request for reasonable

26
     accommodation and for auxiliary aids when the barriers to communication are overt

27
     and obvious. However, in the present case, Plaintiffs did make such requests for

28

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 1
     accommodation to eliminate overt and obvious barriers to its rental services
 2
     communications. Plaintiffs allege that providing effective contact information for
 3
     Defendants’ rental services on the internet is an obvious accommodation. The
 4
     general public does not need to request a contact number from the Defendant
 5
     apartment owner or operator when they desire to rent a place. Defendants provide the
 6
     contact number on their website. Therefore, Plaintiffs allege that Defendants are
 7
     required to provide the obvious accommodation of effective communication for
 8
     people that are deaf or with speech impediment on their website without a request.
 9
     Defendants must make their rental services accessible without the need for a prior
10
     request. Furthermore, Defendants have a duty to remove architectural barriers and
11
     communication barriers to their rental services without request.
12
     19. Plaintiffs allege that there is disparate treatment on the internet related to the
13
     amenities being offered to people without disabilities and people with disabilities.
14
     All the below facts and the facts stated elsewhere herein have a disparate impact on
15
     the disability community. The named Plaintiffs experienced and have knowledge of
16
     the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
17
     operates an apartment property. The property is located at 701 S St. Andrews Pl, Los
18
     Angeles, CA 90005. The property was built in 1963 and has 3 stories with 42 units.
19
     The rent is approximately: $2,095. The internet provides a wealth of information
20
     regarding the property. The internet advertises that the property has amenities that
21
     include: Community Amenities, Security System, Apartment Features, High Speed
22

23
     Internet Access, Smoke Free, Balcony, Parking Covered Parking Available. The

24
     property advertises on apartmenthomeliving.com, apartmentfinder.com. It is very

25
     important to know that on apartmenthomeliving.com, apartmentfinder.com there is

26
     the equal housing opportunity logo. The plaintiff alleges that there is disparate

27
     treatment on the internet related to the amenities being offered to people without

28

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 1
     disabilities and people with disabilities. For example, the tow signage was not
 2
     installed. The accessible parking space had an access aisle, which was not van
 3
     accessible. The aisle did not have the “no parking” included in the access aisle. The
 4
     office had a high threshold. There was no International Symbol of Accessibility
 5
     signage. The Internet does not state the accessible amenities at all. Also, the
 6
     statement the “equal housing opportunity statement” is misleading. In fact, the
 7
     property is not completely accessible. All the above facts and the facts stated herein
 8
     have a disparate impact on the disability community.
 9
     20.   On Defendants’ websites, they allow the public without deafness and without
10
     speech impairments to participate by providing them with a telephone number to
11
     call. However, Plaintiff Club members that are deaf and or with speech impairments
12
     are denied equal access to participate because the Defendants do not have any
13
     effective communication.
14
     21.   Defendants provide websites for people without disabilities to benefit from the
15
     rental services without going to the apartments to learn about the properties.
16

17
     However, for people with disabilities that require the access to the facility, the

18
     Defendants do not provide any information on the websites regarding if the rental

19
     services located both on or off the property are accessible. Moreover, the Defendants

20
     provide the telephone number for the public to call to inquire about the rental

21
     services without providing any effective alternative communications for Plaintiffs

22
     and other people that are deaf or have speech impairments.

23
     22.   For people without disabilities, the Defendants provide all of the information

24
     on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
25   the Property to determine if it is accessible, then require them to request the effective
26   communication, and then thereafter to request a reasonable accommodation to the
27   overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
28

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  1
      and other people with disabilities to suffer a separate benefit.
  2
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  3
      related to the physical access of each of the apartments within Exhibit B to this
  4
      complaint. The purpose of Defendants’ internet photographs is to entice perspective
  5
      renters to apply online or to contact the Defendants to rent a place. Defendants’
  6
      internet photographs only entice people without mobility disabilities. Defendants’
  7
      internet photographs exclude any photographs of any accessible features that would
  8
      aid the Plaintiffs. For example, there is no photograph of accessible parking. There
  9
      are no photographs of the accessible route to the rental services both on or off the
 10
      property. There are photographs of the accessible route to the rental services. There
 11
      are no photographs related to the access to get into and use the rental services. There
 12
      are no photographs related to the accessible route of the common area. There are no
 13
      photographs of the accessible units. In fact, all the photographs lead a person with a
 14
      mobility disability to believe that the apartments are not accessible, or that they must
 15
      have someone go to the properties to make sure it is accessible. However, people
 16

 17
      without disabilities are not required to go to the Property to see if it is accessible.

 18
      24.   Defendants websites and Defendants’ rental services are not integrated for

 19
      people with disabilities as required. Plaintiffs are required to request an

 20
      accommodation. People without disabilities can access the websites and the rental

 21
      services without any problem, but Plaintiffs and other people with disabilities are

 22
      required to request for separate rental services. People with mobility conditions are

 23
      not integrated when using the websites because they must go to the apartments to

 24
      determine if they are accessible, but people without disabilities need only access
 25   Defendants’ websites to determine they can use them. People that are blind and with
 26   low vision disabilities must request help to read the website information because the
 27   printed information is too small, but people without disabilities can access the
 28

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  1
      websites without asking for help. Plaintiffs and other people with deafness or people
  2
      with speech condition must ask for help calling the number on the websites, because
  3
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  4
      texting system. Defendants discriminated against the Plaintiffs.
  5
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  6
      in October, 2023, and on a second subsequent date, to access the rental services. The
  7
      Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
  8
      physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
  9
      on-site rental services that this Named Individual Plaintiff intended to visit in
 10
      October, 2023, and on a second subsequent date, but this Plaintiff was deterred from
 11
      accessing Defendant’s rental services located on the Property. Defendants provide
 12
      rental information, rental applications, and other rental services on-site at the
 13
      Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
 14
      rental applications, and other rental services were available on-site at the Property.
 15
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
 16
      travel from the sidewalk to the rental services is not accessible since it has step
 17
      changes in level along the path. There are numerous step changes in level that must
 18
      be traversed to access the main entrance to the complex. The main entrance door
 19
      leading into the complex fails to have the required smooth and uninterrupted surface
 20
      at the bottom of the door. The main entrance door leading into the complex is not
 21
      accessible due to a significant step change in level at the main entrance door
 22
      threshold that is not beveled or ramped. Defendant’s callbox is located too high to
 23
      be accessible. Additionally, there are numerous step changes in level that must be
 24
      traversed to access the second gated entrance to the complex. This second gated
 25
      entrance door fails to have the required strike edge clearance and smooth and level
 26
      landing of sufficient dimensions. The second gated entrance door leading into the
 27
      complex fails to have the required smooth and uninterrupted surface at the bottom of
 28

                       11
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  1
      the door. The second gated entrance door fails to have accessible operating
  2
      hardware to operate the door. There are numerous step changes in level that must be
  3
      traversed to access the complex once inside the second gated entrance door. Within
  4
      the complex, there are numerous and excessive step changes in level in all areas of
  5
      the complex that must be traversed to access the rental services. Defendants do not
  6
      provide the required directional signage as to the designated path of travel from the
  7
      sidewalk to Defendant’s rental services. Defendant’s rental services entrance is not
  8
      accessible due to a significant step change in level at the rental services door
  9
      threshold that is not beveled or ramped. Additionally, Defendant’s rental services
 10
      entry door operating hardware is a round knob. The Named Individual Plaintiff has
 11
      mobility disabilities and these step changes in level and the other stated issues cause
 12
      the path of travel and the rental services entry to be not accessible. Defendants failed
 13
      to provide any directional signage indicating an alternate accessible path of travel to
 14
      the rental services. Defendants failed to provide the required fully compliant van
 15
      accessible disabled parking for the rental services. Defendants failed to provide a
 16
      dimensionally compliant van accessible disabled parking space and disabled parking
 17
      access aisle, the required disabled parking signage, including tow away signage, fine
 18
      signage, ground markings, and failed to locate said parking on a level surface and
 19
      nearest the rental services. Defendants also failed to provide compliant tow away
 20
      signage. The Named Individual Plaintiff requires the use of a compliant van
 21
      accessible disabled parking space to safely exit and re-enter the vehicle.
 22
      Defendants’ failure to provide the required compliant disabled parking, disabled
 23
      parking access aisle, disabled parking disability signage, access aisle, and disability
 24
      ground markings, such that the Named Individual Plaintiff is not able to safely park
 25
      at Defendants’ establishment since the individual Plaintiff may be precluded from
 26
      exiting or re-entering the vehicle if the disabled parking and disabled parking
 27
      signage is not present and others park improperly. Additionally, Defendants failed to
 28

                       12
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  1
      provide the required accessible path of travel from the parking area to the rental
  2
      services since the existing path of travel has step changes in level. Additionally,
  3
      Defendants overt and obvious communication barriers were also present at the rental
  4
      services in October, 2023, and on a second subsequent date. Defendants failed to
  5
      provide any method of text communication with their rental services and failed to
  6
      publish any information as to how to initiate text communication contact. The
  7
      Named Individual Plaintiff had actual knowledge of these barriers at Defendants’
  8
      Property that Plaintiff intended to visit, and the Named Individual Plaintiff was
  9
      deterred from accessing Defendants’ rental services at the Property again in
 10
      November, 2023. See Property photos in Exhibit B and Exhibit C.
 11
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
 12
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
 13
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
 14
      other people with disabilities. Plaintiff Club, its Club members, and the named
 15
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
 16
      conditions, and they are currently deterred from attempting further access until the
 17
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
 18
      return to Defendants’ Property and Defendants websites at the end of this action to
 19
      obtain rental services, and to verify that the communication and architectural barriers
 20
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
 21
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
 22
      members have actual knowledge of the discriminatory conditions as alleged herein
 23
      when the Plaintiff Club investigated the Property and the rental services and
 24
      determined that the Club members would not be able to use the rental services due to
 25
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
 26
      deterred from visiting the properties. Plaintiff Members were not required to
 27

 28

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  1
      actually visit the properties. See Civil Rights Education & Enforcement Center v.
  2
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
  3
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at
  4
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans
  5
      to visit at the conclusion of this case to obtain rental information and to verify the
  6
      Defendants ceased its discriminatory conduct by removing communication and
  7
      physical barriers to access to the rental services.
  8

  9
       DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
 10
      FAIR HOUSING ACT CLAIMS
 11
      27.   FHA Standing:
 12
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 13
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
 14
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
 15
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
 16
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
 17
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
 18
      Defendants’ apartment complex since it has more than 4 residential units. FHA
 19
      standing is substantially broader than standing under the ADA due to the critically
 20
      important need of adequate availability of housing for the disabled. A potential
 21
      plaintiff is not even required to have an interest in renting a particular property or
 22
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
 23
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 24
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 25
      whether or not the target of the discrimination, can sue to recover for his or her own
 26
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 27
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 28

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                                                                                   COMPLAINT
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  1
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
  2
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
  3
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
  4
      and that the named Plaintiffs suffered monetary and other damages as a result. The
  5
      named Plaintiffs seek injunctive relief as well as damages, both of which are
  6
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  7
      prospective injunctive relief was not available to Plaintiffs due to mootness or
  8
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  9
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
 10
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
 11
      Thousand (3000) miles away and her injunctive claims became moot. However,
 12
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
 13
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
 14
      above Ninth Circuit Harris court authority makes it clear that those prudential
 15
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
 16
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
 17
      prospective injunctive relief is not available. The present Plaintiff Club has
 18
      organization standing separately on its own under the FHA. Additionally, under the
 19
      FHA, Plaintiff Club has associational standing to assert its Club member claims
 20
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
 21
      Club and the named Individual Plaintiff have standing with respect to the following
 22
      FHA claims.
 23

 24
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 25
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 26
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 27
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 28

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  1
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  2
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
  3
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
  4
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
  5
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
  6
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  7
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  8
      scheme permits disparate impact claims, and those type of claims do not require
  9
      intent]. due to Defendants’ communication and architectural barriers, Defendants
 10
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
 11
      Plaintiffs to make a reasonable accommodation request for equal access to their
 12
      rental services on their website or at their Property. Defendants have an affirmative
 13
      duty to have a policy, process to receive such accommodation requests and to
 14
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
 15
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
 16
      discrimination.
 17

 18
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
 19
      Housing Act And California Fair Employment And Housing Act
 20
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 21
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
 22
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
 23
      engage in a good-faith interactive process to determine and to implement effective
 24
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 25
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 26
      services both on or off the property and apartments.
 27

 28

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                                                                                   COMPLAINT
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  1
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
  2
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  3
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
  4
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
  5
      discriminate against any person in the terms, conditions, or privileges of sale or
  6
      rental of a dwelling, or in the provision of services or facilities in connection with
  7
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  8
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  9
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
 10
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
 11
      services located on the Property or off-site are “services” in connection with the
 12
      rental of a dwelling and the on-site or off-site rental services provided fall within the
 13
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
 14
      failure to remove communication and architectural barriers to permit access to
 15
      Defendant’s on-site rental services contained is a separate, independent, actionable
 16
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
 17
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
 18
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
 19
      The 9th Circuit Smith court stated that the mere observation of overt architectural
 20
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
 21
      into the statute beyond mere observation, however, ignores that many overtly
 22
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
 23
      disabled individual from forming the requisite intent or actual interest in renting or
 24
      buying for the very reason that architectural barriers prevent them from viewing the
 25
      whole property in the first instance” (emphasis in original)]. The Smith court found
 26
      Defendants liable under this FHA subsection even though that case did not involve
 27
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 28

                       17
                                                                                  COMPLAINT
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  1
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
  2
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
  3
      had actual knowledge of Defendants’ communication and architectural barriers and
  4
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
  5
      services located thereon. Defendants also discriminated against Plaintiffs by failing
  6
      to modify its practices and policies to provide access via other methods of access to
  7
      its rental services located on or off the property site. Defendant’s failure to remove
  8
      the architectural and communication barriers to access its facilities and the rental
  9
      services located thereon, or failure to provide an accommodation to provide methods
 10
      of alternate access to their rental services, constitutes the prohibited discrimination,
 11
      separately and independently. Additionally, Defendant’s conduct is also prohibited
 12
      under ADA Title III and constitutes a second, separate, independent source of
 13
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
 14
      discriminatory conduct involves Defendants’ rental facilities and its rental services
 15
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
 16
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
 17
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
 18
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
 19
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
 20
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
 21
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
 22
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
 23
      to make reasonable accommodations in rules, policies, practices, or services, when
 24
      such accommodations may be necessary to afford such person equal opportunity to
 25
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 26
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 27
      repeated written and other requests for an accommodation to have equal access to its
 28

                       18
                                                                                   COMPLAINT
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  1
      rental services.
  2
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
  3
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
  4
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  5
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  6
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  7
      Defendants discriminated against them when Defendants made, printed, or
  8
      published, or caused to be made printed, or published notices, statements, or
  9
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
 10
      tenants without disabilities. Defendants' Internet advertising regarding its rental
 11
      services has an unlawful disparate impact on Plaintiffs.
 12

 13
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
 14
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
 15
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
 16
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
 17
      reasonable accommodations in rules, policies, practices, or services in violation of
 18
      CA Government Code sections 12927 and 12955.2, when these accommodations
 19
      may be necessary to afford a disabled person equal opportunity to use and enjoy
 20
      Defendants’ rental services. As stated in detail above, Defendants refused to make
 21
      reasonable accommodations with the instant Plaintiffs and discriminated against each
 22
      of them on the basis of disability.
 23

 24

 25
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under

 26
      The Americans With Disabilities Act Of 1990

 27
      34.   ADA Standing:

 28

                         19
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  1
            ADA Title III does cover public and common use areas at housing
  2
      developments when these public areas are, by their nature, open to the general
  3
      public. An office providing rental services is open to the general public. (See U.S.
  4
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  5
      Illustration 3, office on or off the site covered). The parking and paths of travel to
  6
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  7
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  8
      3: A private residential apartment complex contains a office on or off the site. The
  9
      office on or off the site is a place of public accommodation”). See Kalani v Castle
 10
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
 11
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
 12
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
 13
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
 14
      provide rental services at the property. Following prior sister Circuit Courts of
 15
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
 16
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
 17
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
 18
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
 19
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
 20
      does not require a Plaintiff to have a personal encounter with the barrier to equal
 21
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
 22
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
 23
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
 24
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
 25
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 26
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 27
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 28

                       20
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  1
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
  2
      and regulations as detailed further in the ADA claims stated below. As a result, the
  3
      named Plaintiffs have each suffered injury and each seek only injunctive and
  4
      declaratory relief pursuant to their ADA Claims.
  5
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  6
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  7
      may be necessary to ensure that no individual with a disability is excluded, denied
  8
      services, segregated or otherwise treated differently than other individuals because of
  9
      the absence of auxiliary aids and services, unless the entity can demonstrate that
 10
      taking such steps would fundamentally alter the nature of the good, service, facility,
 11
      privilege, advantage, or accommodation being offered or would result in an undue
 12
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 13
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 14

 15
      violated said provision. Plaintiffs set forth the factual basis for this claim most

 16
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

 17
      of public accommodation, not services in a place of public accommodation. To limit

 18
      the ADA to discrimination in the provision of services occurring on the premises of a

 19   public accommodation would contradict the plain language of the statute.” Nat’l
 20   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
 21   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
 22   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
 23   provides, it cannot discriminate on the basis of disability in providing enjoyment of
 24   those goods and services”]). An ADA plaintiff may challenge a business’ online
 25   offerings as well. So long as there is a “nexus”—that is, “some connection between
 26   the good or service complained of and an actual physical place”—a plaintiff may
 27   challenge the digital offerings of an otherwise physical business. See Gorecki v.
 28

                       21
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  1
      Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
  2
      CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
  3
      communication to the instant Plaintiffs and to people with disabilities. In the
  4
      present case, Plaintiffs experienced and have knowledge that Defendants failed to
  5
      have a required procedure to provide effective communication. Plaintiffs allege that
  6
      Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
  7
      did not provide any auxiliary aid and the Defendants did not provide any reasonable
  8
      accommodation to the overt and obvious communication barriers, and failed to
  9
      respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
 10

 11
      Defendants provide a specific reasonable accommodation or a specific auxiliary aid.

 12
      ADA law allows the Defendants to decide what auxiliary aid and reasonable

 13
      accommodation will be provided. In this case, however, Defendants failed to

 14
      provide any reasonable accommodation for the overt and obvious communication

 15   barriers to equal access to their rental services, failed to provide any auxiliary aid,
 16   and failed to provide any effective communication. Plaintiffs allege that Defendants’
 17   websites provide a contact number for the general public, but Defendants failed to
 18   provide Plaintiffs with the required effective communication using texting or other
 19   alternate means of communication for Plaintiffs and other people with a deaf
 20   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
 21   Club’s members that have hearing disabilities and Club’s members with speech
 22   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
 23   a method to effectively communicate with Plaintiff Club members that have hearing
 24   and speech disabilities, and other people that are deaf or have speech impairments.
 25   CLAIM II: Denial of Participation
 26   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
 27   subject an individual or class of individuals on the basis of a disability or disabilities
 28

                       22
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  1
      of such individual or class, directly, or through contractual, licensing, or other
  2
      arrangements, to a denial of the opportunity of the individual or class to participate in
  3
      or benefit from the goods, services, facilities, privileges, advantages, or
  4
      accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  5
      elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
  6
      Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
  7
      most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
  8
      violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  9
      CLAIM III: Participation in Unequal Benefit
 10

 11
      37.   Defendants provide unequal benefit for people with disabilities in violation of

 12
      42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts

 13
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,

 14
      believe, and thereon allege that Defendants discriminated against Plaintiffs in

 15   violation of said provision. Plaintiffs set forth the factual basis for this claim most
 16   specifically at ¶¶ 20-24 above.
 17   CLAIM IV: Separate Benefit
 18   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
 19   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
 20   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 21   believe, and thereon allege that Defendants discriminated against Plaintiffs in
 22   violation of said provision. Plaintiffs set forth the factual basis for this claim most
 23   specifically at ¶¶ 20-24 above.
 24   CLAIM V: Integrated Settings
 25   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
 26   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
 27   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 28

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  1
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  2
      against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
  3
      for this claim most specifically at ¶¶ 20-24 above.
  4
      CLAIM VI: Failure To Modify Practices, Policies And Procedures
  5
      40.   Defendants failed and refused to provide a reasonable alternative by
  6
      modifying its practices, policies, and procedures in that they failed to have a scheme,
  7
      plan, or design to accommodate Plaintiff Club, its Club members, the individual
  8
      named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  9
      services, at its websites and at the Property, in violation of 42 United States Code
 10
      12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 11
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 12
      allege that Defendants discriminated against Plaintiffs in violation of said provision.
 13
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
 14
      CLAIM VII: Failure To Remove Architectural And Communication Barriers
 15
      41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
 16
      communication barriers as required in violation of 42 United States Code
 17
      12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
 18
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 19
      allege that Defendants discriminated against the named Individual Plaintiff in
 20
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
 21
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
 22
      reviewed all the information and photographs of Defendants’ property. As a result,
 23
      the named Individual Plaintiff has actual knowledge of the physical and
 24
      communication barriers that exist at Defendants’ Property. The named Individual
 25
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
 26
      directly relate to his disabilities, and make it impossible or extremely difficult for
 27
      him to physically access Defendants’ rental services at the Property. The named
 28

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  1
      Individual Plaintiff was deterred by his actual knowledge of the physical and
  2
      communication barriers that exist at Defendants’ Property which include but are not
  3
      limited to the barriers to facilities and services for disabled parking, exterior path of
  4
      travel to the rental services at the property, entrance and interior, since said
  5
      Defendants’ facilities and rental services were not accessible because they failed to
  6
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
  7
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
  8
      Plaintiff had actual knowledge of these barriers and determined that it would be
  9
      futile gesture for him to go to the Property on the date that he had originally
 10
      intended. The named Individual Plaintiff is currently deterred from returning due to
 11
      his knowledge of the barriers. At the end of this action, the named Individual
 12
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
 13
      rental information and verify that the communication and physical barriers to
 14
      Defendants’ rental services are removed. Defendants failure to remove the barriers
 15
      to equal access constitutes discrimination against the named Individual Plaintiff.
 16
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
 17
      42.   Defendants are required to make alterations to their facilities in such a manner
 18
      that, to the maximum extent feasible, the altered portions of the facility are readily
 19
      accessible to and usable by individuals with disabilities, including individuals who
 20
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
 21
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
 22
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
 23
      Defendants altered their facility in a manner that affects or could affect the usability
 24
      of the facility or a part of the facility after January 26, 1992. In performing the
 25
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 26
      manner that, to the maximum extent feasible, the altered portions of the facility are
 27
      readily accessible to and usable by individuals with disabilities, including individuals
 28

                       25
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  1
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
  2
      CLAIM IX: Administrative Methods
  3
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  4
      with website providers without making sure that the websites will be accessible to
  5
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
  6
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  7
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  8
      discriminated against the named Individual Plaintiff in violation of said provision.
  9
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
 10

 11
      CLAIM X: Screen Out
      44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
 12
      out Plaintiffs and other people with disabilities in violation of 42 United States Code
 13
      12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 14
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 15

 16
      allege that Defendants discriminated against the named Plaintiffs in violation of said

 17
      provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8

 18
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and

 19
      processes, because Defendants failed to remove architectural and communication

 20
      barriers to its website and property, failed to provide required effective alternate

 21
      communication methods, and failed to provide required auxiliary aids.

 22

 23   CLAIM XI: Denial Of Full And Equal Access
 24   45.   Defendants are required to provide full and equal access to Defendants' rental
 25   services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
 26   United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 27   8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 28

                       26
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  1
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
  2
      of said provision. Plaintiffs set forth the factual basis for this claim most specifically
  3
      at ¶¶ 8 - 26 above.
  4

  5
      CLAIM XII: Failure To Investigate And Maintain Accessible Features
  6
      46.     Defendants made repairs and administrative changes which violated ADA and
  7
      its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  8
      features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  9
      Defendants failed to provide and then maintain any accessible features in its parking,
 10
      path of travel, on or off the property site for rental services and website rental
 11
      services. Plaintiffs are informed, believe, and thereon allege that Defendants
 12

 13
      discriminated against the named Plaintiffs in violation of this provision.

 14   CLAIM XIII: Association
 15
      47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 16
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 17
      against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
 18

 19         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
 20          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
 21   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
 22                                 ACCESSIBILITY LAWS
 23   CLAIM I: Denial Of Full And Equal Access
 24   48.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 25   named Individual Plaintiff was denied full and equal access to Defendants' goods.
 26   services, facilities, privileges, advantages, or accommodations within a public
 27   accommodation owned, leased, and/or operated by Defendants as required by Civil
 28

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  1
      Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
  2
      18-28 above.
  3
      CLAIM II: Failure To Modify Practices, Policies And Procedures
  4
      49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  5
      the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  6
      Defendants failed and refused to provide a reasonable alternative by modifying its
  7
      practices, policies, and procedures in that they failed to have a scheme, plan, or
  8
      design to assist Plaintiff Members and/or others similarly situated in entering and
  9
      utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
 10
      this claim is at 18-28 above.
 11
      CLAIM III: Violation Of The Unruh Act
 12
      50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 13
      the individual, the named Individual Plaintiff was denied full and equal access to
 14
      Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
 15
      failing to comply with Civil Code §51(f). Defendants' facility violated state
 16
      disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
 17
      Building Code by failing to provide equal access to Defendants’ facilities.
 18
      Defendants did and continue to discriminate against Plaintiff Members in violation
 19
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
 20
                 Treble Damages Pursuant To California Accessibility Laws
 21
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 22
      only the named Individual Plaintiff prays for an award of treble damages against
 23
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 24
      54.3(a). Defendants, each of them respectively, at times prior to and including the
 25
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 26
      rental services, and continuing to the present time, knew that persons with physical
 27
      disabilities were denied their rights of equal access. Despite such knowledge,
 28

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  1
      Defendants, and each of them, failed and refused to take steps to comply with the
  2
      applicable access statutes; and despite knowledge of the resulting problems and
  3
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  4
      and each of them, have failed and refused to take action to grant full and equal access
  5
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  6
      and each of them, have carried out a course of conduct of refusing to respond to, or
  7
      correct complaints about, denial of disabled access and have refused to comply with
  8
      their legal obligations to make Defendants’ public accommodation facilities and
  9
      rental services accessible pursuant to the ADAAG and Title 24 of the California
 10
      Code of Regulations (also known as the California Building Code). Such actions
 11
      and continuing course of conduct by Defendants in conscious disregard of the rights
 12
      and/or safety of the named Individual Plaintiff justify an award of treble damages
 13
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
 14

 15
                          DEMAND FOR JUDGMENT FOR RELIEF:
 16
      A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
 17
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
 18
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
 19
      this court to enjoin Defendants to cease their discriminatory practices in housing
 20
      rental services, rental housing management services, and for Defendants to
 21
      implement written policies and methods to respond to reasonable accommodation
 22
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
 23
      request this Court enjoin Defendants to remove all barriers to equal access to the
 24
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
 25
      architectural and communicative barriers in the provision of Defendants’ rental
 26
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 27
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 28

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  1
      not seek any relief at all pursuant to Cal. Civil Code §55.
  2
      B.    All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
  3
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  4
      damages on behalf of its members;
  5
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  6
      to Cal. Civil Code §§ 52 or 54.3;
  7
      D.    Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  8
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  9
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
 10
      E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
 11
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
 12
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
 13
      § 54.1;
 14
      F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
 15
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
 16
      G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
 17
      Civil Code §§ 52(a) or 54.3(a);
 18
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
 19
      Defendants to provide obvious reasonable accommodations, to provide the required
 20
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
 21
      Defendants in the provision of Defendants’ rental services. Without perspective
 22
      relief the Plaintiffs will suffer future harm.
 23
      ///
 24
      ///
 25
      ///
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                                                                                COMPLAINT
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  1
      I.    All named Plaintiffs seek a Jury Trial and;
  2
      J.    For such other further relief as the court deems proper.
  3

  4   Respectfully submitted:
  5
                                                   LIGHTNING LAW, APC
  6
      Dated: November 18, 2023
  7
                                            By:    /s/David C. Wakefield
  8                                                DAVID C. WAKEFIELD, ESQ.
  9
                                                   Attorney for Plaintiffs

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